

People v McMorris (2024 NY Slip Op 06548)





People v McMorris


2024 NY Slip Op 06548


Decided on December 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 24, 2024

Before: Kern, J.P., Singh, Gesmer, Pitt-Burke, O'Neill Levy, JJ. 


Ind. No. 397/11 Appeal No. 3308 Case No. 2023-01788 

[*1]The People of the State of New York, Respondent,
vWillie McMorris, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Frances Weil of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Ralph Fabrizio, J.), rendered October 3, 2013, convicting defendant, upon his plea of guilty, of attempted robbery in the second degree, and sentencing him to a term of three years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed. 
Based on our own interest of justice powers, we vacate the surcharge and fees  
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 24, 2024








